          Case 6:20-cr-00007-BMM Document 28 Filed 10/20/20 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           HELENA DIVISION

UNITED STATES OF AMERICA,                  CR 20-07-H-BMM

            Plaintiff,

    vs.                                    PRELIMINARY ORDER OF
                                           FORFEITURE
JOSEPH ALFRED EDWARD
LYTELL TORRES,

            Defendant.


      THIS MATTER comes before the Court on the United States’ Motion for

Preliminary Order of Forfeiture. Defendant Joseph Alfred Edward Lytell Torres

appeared before the Court on October 1, 2020, and entered a plea of guilty to count

II of the Indictment. Torres’ plea provides a factual basis and cause to issue an

Order of Forfeiture, pursuant to 18 U.S.C. § 924(d).

      IT IS ORDERED:

      THAT Torres’ interest in the following property is forfeited to the United

States in accordance with 18 U.S.C. § 924(d):




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          Case 6:20-cr-00007-BMM Document 28 Filed 10/20/20 Page 2 of 2



      • Smith and Wesson, model 59, 9mm pistol, SN: A384640; and

      • 9mm ammunition.

      THAT the Bureau of Alcohol, Tobacco, Firearms and Explosives is directed

to seize the property subject to forfeiture and further to make a return as provided

by law;

      THAT the United States will provide written notice to all third parties

asserting a legal interest in any of the above-described property and will post on an

official government internet site (www.forfeiture.gov) for at least 30 consecutive

days as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty

or Maritime Claims and Asset Forfeiture Actions of the Court’s Preliminary Order

and the United States’ intent to dispose of the property in such manner as the

Attorney General may direct, pursuant to 18 U.S.C. § 924(d) and 21 U.S.C.

§ 853(n)(1), and to make its return to this Court that such action has been

completed; and

      THAT upon adjudication of all third-party interests, if any, the Court will

enter a Final Order of Forfeiture.

      DATED this 20th day of October, 2020.




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